          Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 ------------------------------------------------------------------- X

 ESTATE OF AMER FAKHOURY, et al.,

                                  Plaintiffs,                            Docket No:
                                                                         21-cv-1218 (JDB)
                           -against-

 ISLAMIC REPUBLIC OF IRAN, et al,

                                  Defendants.

 ------------------------------------------------------------------- X

        PLAINTIFFS’ OPPOSITION TO MOTION OF NON-PARTY REPUBLIC
         OF LEBANON GENERAL DIRECTORATE OF GENERAL SECURITY
                  TO INTERVENE AND STRIKE PLEADINGS

       This is an action against the Islamic Republic of Iran (“Iran”) under the state-sponsored

terrorism exception to the Foreign Sovereign Immunities Act, 28 U.S.C. § 1605A (“FSIA”).

Plaintiffs claim that their decedent, United States citizen Amer Fakhoury, was wrongfully

imprisoned, held hostage, tortured, and otherwise damaged in Lebanon by the Hezbollah terrorist

organization that dominates the Lebanese government, and that this was done with the sponsorship

of Iran, which is well known to be sponsoring and pulling the strings of Hezbollah. The complaint

named Iran as the only defendant.

       Now before the Court is a very strange and unusual motion filed by a non-party, the

Republic of Lebanon General Directorate of General Security (“Lebanon GDGS”). The Lebanon

GDGS, asserting that it is a branch of the Lebanese government, appeared in this action and filed

a motion to intervene and upon intervention to strike allegations from the complaint about the

actions of the Lebanon GDGS, on the ground that the Lebanon GDGS claims the allegations of

the complaint cast the Lebanon GDGS in a bad light. (Dkt. 7). No affidavit from any person with
            Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 2 of 13




knowledge is submitted. Essentially, this hitherto non-party Lebanon GDGS is seeking to strike

core allegations of Plaintiff’s case—thereby doing the bidding of Defendant Iran, Hezbollah’s

customary role—and doing so based on nothing but some unsupported ipse dixit remarks of its

lawyer.


A.        Intervention is Unopposed
          Plaintiff does not oppose the intervention of Lebanon GDGS as a party.

          The actions of the Lebanese government are obviously at issue in this case. Iran’s terrorist

activities are frequently conducted through proxies, such as the Lebanese terrorist organization

Hezbollah. See Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 292 (D.D.C. 2003) (finding

Hezbollah is an Iranian proxy). Hezbollah dominates the Lebanese government (Dkt. # 1, ¶ 36),

including the Lebanon GDGS. It is well known that the head of Lebanon GDGS, Abbas Ibrahim,

“like his predecessors is closely associated with Hezbollah.” https://yalibnan.com/2011/07/18/

cabinet-appoints-abbas-ibrahim-as-lebanon-security-chief/ (last visited Dec. 28, 2021).

          Plaintiff is seeking to hold Iran liable for the actions of its proxies in Lebanon. Plaintiff

certainly welcomes the Republic of Lebanon (“Lebanon”) as a party to this case. Indeed, the

prospect of having an active party, represented by counsel, and participating in this litigation,

including documentary discovery, depositions, and trial, is a breath of fresh air as compared to the

numerous cases of this nature which are decided on default based on expert testimony but no live

witnesses to be cross-examined.

          Plaintiff did not name Lebanon or its constituent component Lebanon GDGS as a defendant

because the state-sponsored terrorism exception to sovereign immunity provided by 28 U.S.C.

§ 1605A requires that the defendant state have a special designation as defined in § 1605A(h)(6)

(“a country the government of which the Secretary of State has determined, for purposes of section



                                                   -2-
          Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 3 of 13




6(j) of the Export Administration Act of 1979 (50 U.S.C. App. 2405(j)), section 620A of the

Foreign Assistance Act of 1961 ( 22 U.S.C. 2371 ), section 40 of the Arms Export Control Act (22

U.S.C. 2780), or any other provision of law, is a government that has repeatedly provided support

for acts of international terrorism.”) At present, only Cuba, Iran, North Korea, and Syria have this

designation.

       However, Lebanon’s voluntary appearance in this action, its request to intervene, and its

application for affirmative relief adjudicating merits issues in this case constitute a waiver of

sovereign immunity, and therefore there is jurisdiction over Lebanon pursuant to 28 U.S.C.

§ 1605(a)(1) (“A foreign state shall not be immune from the jurisdiction of courts of the United

States or of the States in any case—(1) in which the foreign state has waived its immunity either

explicitly or by implication, notwithstanding any withdrawal of the waiver which the foreign state

may purport to effect except in accordance with the terms of the waiver.”)

       By intervening, Lebanon “subjected themselves to the personal jurisdiction of this Court.”

In re Chevron Corp., 736 F. Supp. 2d 773, 786-87 (S.D.N.Y. 2010).

       [A] party that intervenes also submits to the personal jurisdiction of the court and
       cannot move to dismiss for lack of personal jurisdiction. Id.; County Sec. Agency
       v. Ohio Dep’t of Commerce, 296 F.3d 477, 483 (6th Cir. 2002) (“[A] motion to
       intervene is fundamentally incompatible with an objection to personal
       jurisdiction.”); (finding that voluntary intervention resulted in personal jurisdiction
       over intervening party); Pharmaceutical Research & Mfrs. of Am. v. Thompson,
       259 F. Supp. 2d 39, 39 (D.D.C. 2003) (refusing to allow an intervenor-defendant to
       defeat a motion to amend complaint by arguing futility due to lack of personal
       jurisdiction); City of Santa Clara v. Kleppe, 428 F. Supp. 315, 317 (N.D. Cal. 1976)
       (holding that voluntary intervention submits a party to a court’s personal
       jurisdiction).
Inversora v. Energoprojekt Holding Co., No. 03-73 (RWR), 2007 U.S. Dist. LEXIS 104202, at *4

(D.D.C. Feb. 22, 2007).




                                                -3-
          Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 4 of 13




       When a party intervenes, it becomes a full participant in the lawsuit and is treated
       just as if it were an original party. See District of Columbia v. Merit Systems
       Protection Board, 246 U.S. App. D.C. 35, 762 F.2d 129, slip op. at 5 (D.C. Cir.
       1985); Marcaida v. Rascoe, 569 F.2d 828, 831 (5th Cir. 1978). The intervenor
       renders itself “vulnerable to complete adjudication by the federal court of the issues
       in litigation between the intervenor and the adverse party.” United States v. Oregon,
       657 F.2d 1009, 1014 (8th Cir. 1981) (quoting 3B Moore’s Federal Practice para.
       24.16[6] (2d ed. 1981)). It is said to assume the risk that its position will not prevail
       and that an order adverse to its interests will be entered. See 7A C. Wright & A.
       Miller, Federal Practice & Procedure § 1920, at 611 (1972). As we said recently,
       “the possibility that the plaintiff will be able to obtain relief against the intervenor-
       defendant” is part of the “price” paid for intervention. District of Columbia, 246
       U.S. App. D.C. 35, 762 F.2d 129, slip op. at 6.
Schneider v. Dumbarton Developers, Inc., 767 F.2d 1007, 1017 (1985) (emphasis added).

       The nature of Lebanon’s intervention in this case cannot be described as “limited purpose”

as movants do in their motion papers. This is not, for example, an application to seek access to

sealed documents, or a television station moving for permission to televise a court proceeding.

Rather, in this motion Lebanon seeks an adjudication on the merits in the form of striking of

pleadings, which is a very robust general intervention.

       In light of its voluntary appearance and waiver of sovereign immunity, Plaintiffs shall

proceed to treat Lebanon “as if it were an original party,” District of Columbia v. Merit Sys. Prot.

Bd., 762 F.2d 129, 132 (D.C. Cir. 1985), and shall be filing, simultaneously with this opposition,

a motion to file a supplemental complaint asserting claims against Lebanon (leaving the claims

against Iran unchanged).


B.     There is No Basis to Strike Anything from the Complaint
       Movant Lebanon GDGS’ motion seeks to strike factual allegations from Plaintiff’s

complaint against Iran based on nothing but pot-shot arguments from the sidelines, claiming little

more than that the allegations are embarrassing to Lebanon GDGS, or that in the opinion of



                                                 -4-
          Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 5 of 13




Lebanon GDGS the allegations are not necessary to Plaintiffs’ claim against Iran. The motion

seems to ignore the motion to dismiss standard of Fed. R. Civ. P. 12(b), which requires the

allegations of the pleading to be accepted as true, Valambhia v. United Republic of Tanzania, 964

F.3d 1135, 1137 (D.C. Cir. 2020) (“we accept the amended complaint’s factual allegations as true

and construe all reasonable inferences in the plaintiffs’ favor”), and it ignores the Fed. R. Civ. P.

56 summary judgment standard, which requires a showing that “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). Instead, under the guise of

a motion pursuant to Fed. R. Civ. P. 12(f) to strike “immaterial, impertinent, or scandalous matter,”

the motion presents a misleading flyspecking of the complaint against Iran, transparently a proxy

maneuver by a government agency dominated by Hezbollah to benefit Hezbollah’s sponsor, Iran,

and offers nothing but the opinion of Lebanon’s counsel as to what is a valid or necessary

allegation.

       Fed. R. Civ. P. 12(f) is very narrow. As Judge Chutkan recently explained:

       Federal Rule 12(f) provides that “upon motion made by a party within 20 days of
       service of the pleading upon the party…the court may order stricken from any
       pleading any insufficient defense or any redundant, immaterial, impertinent, or
       scandalous matter.” Fed. R. Civ. P. 12(f). “Statements are to be stricken as
       ‘scandalous’ only when they contain allegations ‘that unnecessarily reflect[] on the
       moral character of an individual[.]’” Cobell v. Norton, 224 F.R.D. 1, 5 (D.D.C.
       2004) (quoting 2 Moore’s Federal Practice § 12.37[3] at 12-97); see also In re
       TheMart.com, Inc., Securities Litig., 114 F. Supp. 2d 955, 965 (C.D. Cal. 2000)
       (“scandalous” includes allegations that cast “a cruelly derogatory light on a party
       or other person”). To qualify as “scandalous,” the allegation in question must at
       least be found lacking in evidentiary support. See, e.g., Pigford v. Veneman, 215
       F.R.D. 2, 4-5 (D.D.C. 2003). Whether to grant a motion to strike is “firmly within
       the discretion of the district court,” and such a motion should be granted only where
       “it is clear that the allegations in question can have no possible bearing on the
       subject matter of the litigation,” Cobell v. Norton, 224 F.R.D. 266, 282 (D.D.C.



                                                -5-
          Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 6 of 13




       2004) (quoting Ulla-Maija, Inc. v. Kivimaki, No. 02 Civ. 3640, 2003 WL 169777,
       at *4 (S.D.N.Y. 2003)), or “unless it can be shown that no evidence in support of
       the allegations would be admissible[,]” id. (quoting Lipsky v. Commonwealth
       United Corp., 551 F.2d 887, 893 (2d Cir. 1976)).
Allen v. Addi, Civil Action No. 20-cv-01650 (TSC), 2021 U.S. Dist. LEXIS 244655, at *10-11

(D.D.C. Nov. 23, 2021). And Judge Lamberth recently held:

       But motions to strike are particularly “disfavored” by the federal courts. Wiggins v.
       Philip Morris, Inc., 853 F. Supp. 457, 457 (D.D.C. 1994). Only if the allegations in
       a complaint are both irrelevant and prejudicial to defendant will a motion to strike
       be granted. Id.
Campaign Legal Ctr. v. Iowa Values, No. 21-cv-389-RCL, 2021 U.S. Dist. LEXIS 224084, at *7

(D.D.C. Nov. 19, 2021); see also Stabilisierungsfonds Fur Wein v. Kaiser Stuhl Wine Distributors

Pty. Ltd., 647 F.2d 200, 201 (D.C. Cir. 1981) (“motions to strike, as a general rule, are disfavored.”)

       Granting a motion to strike is a “‘drastic remed[y] that courts disfavor,’” but trial
       judges have discretion to either grant or deny such motion. Riddick v. Holland, 134
       F. Supp. 3d 281, 285 (D.D.C. 2015) (quoting United States ex rel. Landis v.
       Tailwind Sports Corp., 308 F.R.D. 1, 4 (D.D.C. 2015)). Rule 12(f) itself does not
       require the striking of prejudicial matters, and although courts disfavor motions to
       strike, courts have granted such motions upon a showing that parts of a pleading
       “are prejudicial or scandalous.” Nwachukwu v. Rooney, 362 F. Supp. 2d 183, 190
       (D.D.C. 2005). Therefore, “absent a ‘strong reason for so doing,’ courts will
       generally ‘not tamper with pleadings.’” Nwachukwu v. Rooney, 362 F. Supp. 2d
       183, 190 (D.D.C. 2005) (quoting Lipsky v. Commonwealth United Corp., 551 F.2d
       887, 893 (2d Cir. 1976)).
United States v. Three Sums Totaling $612,168.23 in Seized United States Currency, Civil Action

No. 19-130 (RBW), 2021 U.S. Dist. LEXIS 103994, at *10-11 (D.D.C. June 3, 2021).

       The allegations of Plaintiff’s complaint which Lebanon GDGS seeks to strike do not

remotely meet any of these standards. Far from having “no possible bearing on the subject matter

of the litigation,” the standard laid down in Allen and the Cobell and Ulla-Maija cases it cites, the

allegations which Lebanon GDGS seeks to strike are central to Plaintiff’s claim. The core




                                                 -6-
          Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 7 of 13




allegations of Plaintiff’s claim are that he was tricked into coming to Lebanon (Dkt. # 1, ¶¶ 43-

45), then when in Lebanon had his United States passport confiscated (Dkt. #1, ¶¶ 46), was the

subject of a front-page article in a Hezbollah-controlled newspaper falsely accusing him of crimes

decades earlier (Dkt. # 1, ¶ 47), then was tricked into coming to the Lebanon GDGS office to

retrieve his passport (Dkt. # 1, ¶¶ 48), once there was detained and tortured by the Lebanon GDGS

(Dkt. # 1, ¶¶ 49-62), and all of this was with the sponsorship of Defendant Iran, through its

sponsorship of Hezbollah (Dkt. # 1, ¶¶ 36, 65-80). Those are mostly the allegations that Lebanon

GDGS seeks to strike. Without these allegations, little would be left of Plaintiff’s case.

       Movant Lebanon GDGS seeks to portray itself as basically a passport office. But its own

website reveals that it has much more sinister roles too, including:

       • Participating in Judicial investigations within the limits of threats against internal
       and/or external state security
       • Supervising the preparation and implementation of security measures
       • Fight against anything that can jeopardize security: by closely investigating all
       sabotage acts and chasing after anarchy militants, and rumor spreaders, that attempt
       to endanger national security
       • Fighting dissolved parties, but also secret prohibited associations
       • Preparing notices and pursuits related to investigations, to entry ban, or to travel
       ban
https://www.general-security.gov.lb/en/posts/3 (last visited Dec. 28, 2021). Plainly these functions

more closely resemble the rule of secret police in an authoritarian regime than Lebanon GDGS

would let on. Factual development is needed before this issue can be adjudicated.

       Movant Lebanon GDGS tries to make a technical argument that the detention of Plaintiffs’

decedent was not “hostage taking” within the meaning of 28 U.S.C. § 1605A(a)(1) because while

Plaintiff’s decedent may have been detained, it was not for a quid pro quo, i.e. not to cause

someone else to do something, like pay a ransom. But that argument is spurious, since the



                                                 -7-
           Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 8 of 13




complaint clearly alleges that Plaintiff’s decedent was kidnapped and held hostage as part of a

scheme to secure the release of Kassim Tajideen, a Lebanese national who was imprisoned in the

United States for his role in financing Hezbollah terrorist activities around the world (Dkt. # 1,

¶ 62).

         It is all well and good that Movant Lebanon GDGS’ counsel quotes some sources on the

internet denying that Tajideen’s release from US prison was part of a prisoner exchange quid pro

quo with Plaintiff’s decedent, but those web links are hardly the end of the matter, as this sort of

thing is typically done quietly and behind the scenes, and with plausible deniability in the official

record. Factual development is certainly necessary to connect the dots, but the dots are there to be

seen. A 2019 Department of Justice press release about Tajideen stated:

         The operator of a network of businesses in Lebanon and Africa whom the U.S.
         Department of the Treasury designated as a financier of Hezbollah, the Lebanon-
         based terrorist group, was sentenced to five years in prison and ordered to forfeit
         $50 million by U.S. District Judge Reggie B. Walton of the District of Columbia.
         Kassim Tajideen, 63, had previously pleaded guilty to one count of conspiracy to
         launder monetary instruments in furtherance of violating the International
         Emergency Economic Powers Act (IEEPA). In 2009, the U.S. Department of the
         Treasury designated Tajideen as a Specially Designated Global Terrorist based on
         his tens of millions of dollars of financial support of Hezbollah.
https://www.justice.gov/opa/pr/lebanese-businessman-tied-treasury-department-hezbollah-

sentenced-prison-money-laundering (last visited Dec. 28, 2021). Then the detention of Plaintiffs’

decedent by Lebanon was raised by Senator Jeanne Shaheen at the confirmation hearing of the

United States Ambassador to Lebanon, https://www.shaheen.senate.gov/news/multimedia/watch/

at-sfrc-hearing-shaheen-seeks-assurances-from-nominee-to-be-ambassador-to-lebanon-on-amer-

fakhoury (last visited Dec. 28. 2021), then in July 2020 Tajideen was released on grounds of

compassionate release and sent back to Lebanon, https://www.ice.gov/news/releases/ice-removes-

hezbollah-financier-lebanon (last visited Dec. 28, 2021). Moreover, even if Tajideen’s release,


                                                 -8-
         Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 9 of 13




nominally for medical reasons relating to COVID-19, was coincidental, that does not mean that

the detention of Plaintiffs’ decedent was not perpetrated in the first place for the purpose of

securing Tajideen’s release.

       Movant Lebanon GDGS next contends that the torture of Plaintiffs’ decedent alleged in

the complaint was insufficient to serve as the basis for a claim because it was not severe enough.

Yet the complaint alleges that Plaintiff’s decedent, Amer Fakhoury, was made to watch other

prisoners being savagely beaten, was beaten himself by as many as ten men while he had a black

sack placed over his head, threatened him with being released to an angry mob to be torn apart,

threatened with being sent to Iran to be imprisoned (and likely disappeared) there, deprived of

medical treatment, nourishment, water, and held in solitary confinement. Most seriously, he was

deprived of treatment for the stage four lymphoma that he suffered from, and for Epstein-Barr

virous. (Dkt. # 1, ¶¶ 49-56). The notion that this sort of treatment does not at least arguably

constitute torture actionable under § 1605A is without basis, and is inconsistent with numerous

previous decisions arising under § 1605A. See Anderson v. Islamic Republic of Iran, 90 F. Supp.

2d 107 (D.D.C. 2000) (holding Iran liable where plaintiff held captive and tortured by Hezbollah);

Sutherland v. Islamic Republic of Iran, 151 F. Supp. 2d 27 (D.D.C. 2001) (same); Cicippio v.

Islamic Republic of Iran, 18 F. Supp. 2d 62 (D.D.C. 1998) (same); Kilburn v. Islamic Republic of

Iran, 699 F. Supp. 2d 136 (D.D.C. 2010) (same); Wyatt v. Syrian Arab Republic, 908 F. Supp. 2d

216 (D.D.C. 2012) (holding Syria liable where terrorist group sponsored by Syria held US citizens

captive for 21 days, deprived them of sleep and nutrition, and put them through forced marches

and fake executions); Price v. Socialist People's Libyan Arab Jamahiriya, 384 F. Supp. 2d 120

(D.D.C.2005) (awarding damages to victims of long-term kidnapping and torture); Surette v.

Islamic Republic of Iran, 231 F. Supp. 2d 260 (D.D.C. 2002) (same); Hill v. Republic of Iraq, 175




                                               -9-
         Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 10 of 13




F. Supp. 2d 36 (D.D.C. 2001), rev’d on other grounds, 328 F.3d 680 (D.C .Cir. 2003) (awarding

damages to Americans interned by Iraq prior to Desert Storm); Cronin v. Islamic Republic of Iran,

238 F. Supp. 2d 222 (D.D.C. 2002) (awarding damages for hostage held four days); Stethem v. Islamic

Republic of Iran, 201 F. Supp. 2d 78 (D.D.C. 2002) (awarding damages to hostages held sixteen days).

       Last, Movant Lebanon GDGS asserts that Plaintiffs’ complaint does not allege any

connection between Lebanon GDGS and Hezbollah or Iran, and goes so far as to say that the

relationship is “nonexistent” (Dkt. 7, p. 14)—based on nothing but the unsupported say-so of

Lebanon GDGS’ counsel in a memorandum of law. Building on this contention, Lebanon GDGS

asserts that the allegations regarding Lebanon GDGS are not relevant to the claim against Iran.

       Lebanon GDGS’ contention regarding the lack of such allegations in the complaint is easily

dispatched. The complaint alleges:

       In the years that followed the Israeli withdrawal, Hezbollah’s influence and control
       within Lebanon increased. Hezbollah asserted an ever-expanding political stake in
       Lebanon’s domestic and foreign affairs; the terrorist group’s leadership established
       its alternative government that rivaled the official Lebanese one. Hezbollah’s
       military capabilities exceeded the strength and capabilities of the Lebanese Armed
       Forces (“LAF”) making it the most powerful military force in the country. As a
       result of numerous tragic incidents, though, along with Hezbollah’s tactics of
       perpetrating violence and intimidation against Lebanese officials and civilians, the
       Shiite Party of God lost favor with most Lebanese citizens. It has repeatedly been
       accused by its opponents of corruption and the appropriation of governmental
       funds. It is widely viewed as a terrorist group controlled by its masters in Iran whose
       policies and goals are dictated by the interests of Tehran. The LAF and the
       Lebanese population are in fear and intimidation of the Shiite group’s strength,
       weapon stockpiles, and brutality. Hezbollah representatives were elected to the
       Lebanese parliament and serve as ministers and senior officials. All major political
       decisions in Lebanon, including the appointment of its president and prime
       minister, require Hezbollah’s agreement and approval. Today, Hezbollah, under
       Iran’s control, is understood to be the de-facto dominant authority in Lebanon
       whose policies and goals usurp those advanced by its democratically elected
       officials. It decides crucial matters of foreign policy and must approve senior
       political appointments. Hezbollah asserts a powerful and malicious influence over


                                                -10-
         Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 11 of 13




       the country’s economy, banking institutions, and financial system. Many blame
       Hezbollah for the country’s current economic collapse and paralysis; Hezbollah has
       been accused of being responsible for the catastrophic blast that destroyed large
       swathes of Beirut in the summer of 2020 and other threats to public safety. The
       Lebanon of today cannot be considered an independent nation and most citizens hope
       that Hezbollah’s control will be terminated.
(Dkt. # 1, ¶ 36). It further alleges that the men who questioned Plaintiffs’ decedent while he was

being detained by Lebanon GDGS and tortured appeared to be members of Hezbollah. (Dkt. # 1,

¶ 50); and that Plaintiffs’ decedent was abducted, tortured, and abused “at the hands of Hezbollah.”

(Dkt. # 1, ¶ 64). It alleges at great length that Hezbollah is a proxy arm of Iran. (Dkt. # 1, ¶¶ 65-

80). That Hezbollah is an Iranian proxy has previously been determined by courts in this district:

“Hezbollah is an Iranian proxy organization, controlled, funded and operated by Iran…Iran’s

control over Hezbollah is so far-reaching that [the federal courts have] repeatedly held Iran

vicariously liable, under the doctrine of respondeat superior, for actions of Hezbollah.” Stern, 271

F. Supp. 2d at 292.

       None of the allegations of the complaint regarding Lebanon GDGS is superfluous or

unnecessary. They are all part of telling the story of Plaintiffs’ claim, and they are integral to the

claim to the extent that the complaint would not make sense without them. All the specified

allegations have bearing on Plaintiffs’ claim, and would be admissible at trial. In short, there is no

basis whatsoever to strike them.



       WHEREFORE, the motion of intervenor Lebanon GDGS should be granted and Lebanon

should be made a party to this action for all purposes, and the motion of Lebanon GDGS to strike

material from the complaint against Iran should be denied in all respects.




                                                -11-
         Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 12 of 13




Dated:   Brooklyn, New York
         December 28, 2021
                                             Respectfully submitted,

                                             THE BERKMAN LAW OFFICE, LLC
                                             Attorneys for Plaintiffs


                                             by:
                                                   Robert J. Tolchin

                                             111 Livingston Street, Suite 1928
                                             Brooklyn, New York 11201
                                             718-855-3627




                                      -12-
         Case 1:21-cv-01218-JDB Document 9 Filed 12/28/21 Page 13 of 13



                                    CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on the date indicated below a true copy of the foregoing was
served via ECF on all counsel of record herein:


Dated:    Brooklyn, New York
          December 28, 2021

                                                         Robert J. Tolchin
